                IN THE UNITED STATES DISTRICT COURT FOR THE
             EASTERN DISTRICT OF TENNESSEE, KNOXVILLE DIVISION


PHYLLIS G. BARNES, and                                )
WALTER R. BARNES                                      )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )    Civil Action No. 3:15-cv-556
                                                      )
GREG MALINAK, DEBBIE MALINAK,                         )    JURY DEMAND
and SIDNEY JAMES MOTOR LODGE,                         )
INC. d/b/a OLDE GATLINBURG RENTALS                    )
                                                      )
       Defendants.                                    )



     DEFENDANTS GREG MALINAK AND DEBBIE MALINAK’S SUPPLEMENT TO
             THEIR MOTION TO EXCLUDE THE TESTIMONY OF
               RUSSELL KENDZIOR AS AN EXPERT AT TRIAL


       Come now the Defendants, Greg Malinak and Debbie Malinak (collectively sometimes

referred to hereafter as “Defendants” or “the Malinaks”), by and through counsel, and hereby file

this Supplement to their previously filed Motion to Exclude the Testimony of Russell Kendzior

[Doc. 62] after testimony and argument was heard on the Motion on July 12, 2017. During the

hearing on July 12, emphasis was placed on the number of times that Mr. Kendzior had testified

as support for his being qualified as an expert. Mr. Kendzior’s list of previous testimony shows

that he has been retained in several cases and testified at several depositions, but he has only

testified at trial 30 times. Thus, he has not been scrutinized by a court under Daubert and/or

applicable rules of evidence in over 95% of the supposed 700-750 times he has been retained as

an expert.




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        A broad Westlaw search for “Russell /2 Kendzior” produces 17 cases in which Mr.

Kendzior is mentioned. Of those citations returned in the general search, eight do not address the

qualifications of Mr. Kendzior as an expert but simply mention his name in a review of evidence

filed in support or opposition of motions for summary judgment or in ordering the production of

documents pursuant to a subpoena. Mr. Kendzior is admitted to testify as an expert over the

opposing parties’ objections in only three of the citations returned in the general search. See

Alcala v. Marriott Int'l, Inc., 880 N.W.2d 699, 705 (Iowa 2016); Lange v. Texas Roadhouse of

Texarkana, Ltd., No. 5:07-CV-45, 2008 WL 7489323, at *4 (E.D. Tex. Sept. 24, 2008); Foster v.

Flying J, Inc., No. CV 06-88-BU-RFC, 2008 WL 8929339, at *2 (D. Mont. Mar. 21, 2008). In

one case, the court does not consider whether Mr. Kendzior is qualified as an expert but finds his

testimony “dubious” and specifically notes that the court was not persuaded by his testimony.

See Farmer v. United States, No. 13 C 8224, 2015 WL 6560470, at *7 (N.D. Ill. Oct. 29, 2015).

        Mr. Kendzior is excluded from testifying in six of the citations returned in the general

search.1 See Alsip v. Wal-Mart Stores E., LP, 658 F. App'x 944, 945 (11th Cir. 2016); Alsip v.

Wal-Mart Stores E., LP, No. CV 14-476-CG-M, 2015 WL 7013546, at *1 (S.D. Ala. Nov. 12,

2015), aff'd, 658 F. App'x 944 (11th Cir. 2016); Bosire v. Kroger Co., No. 1:14-CV-02604-ELR,

2016 WL 7510233, at *1 (N.D. Ga. Mar. 17, 2016); Mickalowski v. Office Depot, Inc., No. 10-

2926-STA-CGC, 2012 WL 3548220, at *1 (W.D. Tenn. Aug. 16, 2012); Ryan v. Timberland

Co., No. 2:10CV0001 ERW, 2011 WL 4549677, at *1 (E.D. Mo. Sept. 30, 2011); Parker v. Wal-

Mart Stores, Inc., 267 F.R.D. 373, 377 (D. Kan. 2010). Importantly, the United States District




1
 Two citations are to the same case with one citation to the United States District Court for the Southern
District of Alabama’s opinion and one citation to the 11th Circuit’s opinion confirming the District
Court’s exclusion of Mr. Kendzior. See Alsip, 658 F. App'x 944, 945 (11th Cir. 2016); Alsip, No. CV 14-
476-CG-M, 2015 WL 7013546.


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Court for the Western District of Tennessee has excluded Mr. Kendzior as an expert witness.2

See Order Granting Defendant’s Motion to Exclude Opinion Testimony of Russell Kendzior,

[Doc. 101], Mickalowski, No. 10-2926-STA-CGC (Sept. 7, 2012), a copy of which is attached

hereto as Exhibit A.

       There is no efficient way to determine exactly how many times Mr. Kendzior has been

excluded as an expert. However, the broad Westlaw search outlined above reveals that of the

vast number of cases available on this large search engine, Mr. Kendzior has been excluded in

more cases than he has been admitted and, importantly, has been excluded by another district

court of Tennessee.

                                          CONCLUSION

       The testimony of Russell J. Kendzior will not assist the trier of fact to understand or to

determine a fact in issue as the methodology underlying the testimony is not scientifically valid.

Additionally, the probative value of Russell Kendzior’s testimony is substantially outweighed by

the danger of unfair prejudice, confusion of the issues, and misleading the jury, and the Court in

its gatekeeper function should keep his testimony from the jury.


       WHEREFORE, Defendants Greg Malinak and Debbie Malinak respectfully request that

this Court exclude the testimony of Russell J. Kendzior as an expert at trial.




2
  The opinion found on Westlaw for Mickalowski v. Office Depot, Inc., No. 10-2926-STA-CGC, 2012
WL 3548220, at *1 (W.D. Tenn. Aug. 16, 2012) only addresses the motion for summary judgment but
mentions a pending motion to exclude Mr. Kendzior’s testimony. Upon a review of the pleadings and
orders in this matter on ECF, the Malinaks were able to determine that Mr. Kendzior was indeed excluded
by the District Court.


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       Respectfully submitted this the 14th day of July, 2017.

                                             /s Mabern E. Wall
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing DEFENDANTS GREG
MALINAK AND DEBBIE MALINAK’S SUPPLEMENT TO THEIR MOTION TO
EXCLUDE THE TESTIMONY OF RUSSELL KENDZIOR AS AN EXPERT AT TRIAL
was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will be
served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
system.

       Said parties are:

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       This 14th day of July, 2017.

                                                       HODGES, DOUGHTY & CARSON, PLLC


                                                       /s Mabern E. Wall_________________
                                                       Mabern E. Wall



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